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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                     )
                                              )
                      Plaintiff,              )
                                              )
               vs.                            )                 8:05CR162
                                              )
GENARO FAVALA RAMIREZ and                     )                  ORDER
ELADEO FAVALA RAMIREZ,                        )
                                              )
                      Defendants.             )


         Defendant Genaro Favala Ramirez’s motion to continue (Filing No. 64) and
defendant Eladeo Favala Ramirez’s motion to continue (Filing No. 66) are granted.
         IT IS ORDERED that the detention hearing for the above-named defendants is
continued to December 15, 2005 at 10:00 a.m. before Magistrate Judge Thomas D.
Thalken, Courtroom No. 7, Second Floor, Roman L. Hruska U.S. Courthouse, 111 South
18th Plaza, Omaha, Nebraska.
         Since this is a criminal case, the defendants must be present unless excused by the
Court.
         DATED this 6th day of December, 2005.


                                           BY THE COURT:


                                           s/ Thomas D. Thalken
                                           United States Magistrate Judge
